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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                             CLARKSBURG DIVISION


 REGENERON PHARMACEUTICALS, INC.,
                                                         Case No. 1:22-cv-00061-TSK
                Plaintiff,
         v.                                              JURY TRIAL DEMANDED

 MYLAN PHARMACEUTICALS INC.,

                Defendant.


                      REGENERON’S STIPULATION REGARDING
                     CASE NARROWING AND INJUNCTIVE RELIEF

       Pursuant to the Court’s Scheduling Order (ECF 87), Regeneron hereby elects six patents

from three patent families to proceed in the first stage of litigation, to which the deadlines in the

Scheduling Order (ECF 87) apply. The six patents are:

       1. 10,888,601

       2. 11,053,280

       3. 11,084,865

       4. 11,104,715

       5. 11,253,572

       6. 11,299,532

       Furthermore, pursuant to the Court’s Scheduling Order, Regeneron hereby stipulates that

it will not, with respect to the eighteen patents asserted in its Complaint (ECF 1) but not listed

above, seek injunctive relief with respect to the United States marketing or sales of Mylan

Pharmaceuticals Inc.’s current aBLA product (BLA No. 761274).




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Date: October 28, 2022                            CAREY DOUGLAS KESSLER & RUBY PLLC

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2022, I electronically filed the foregoing with the

Clerk of the Court by using the Court’s CM/ECF system. Counsel of record for all parties will

be served by the Court’s CM/ECF system.



                                                    /s/ Steven R. Ruby
                                                    Steven R. Ruby




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